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July 26, 2023

VIA ECF ONLY

Magistrate Judge Lee G. Dunst
United States District Court
Eastern District of New York

100 Federal Plaza, Courtroom 830
Central Islip, New York 11722

Re:  Zaldivar v. JANL, Inc., et al.
Docket No. 23-cv-01434

Dear Magistrate Judge Dunst:

The undersigned was retained on July 24, 2023 to represent Defendants Luciano Olivero
and Severina Olivero in the above-referenced matter. A Notice of Appearance was filed that,
same day. [DE13}.

Presently, Defendant Luciano Olivero’s deadline to file an Answer or otherwise respond
to the Complaint is July 27, 2023, while Defendant Severina Olivero’s deadline to do so is
August 7, 2023. By this letter, ] respectfully request an extension of both of my clients’ time to
file an Answer or otherwise respond to the Complaint, to September 6, 2023. This will give me
enough time to investigate the allegations against my clients and respond accordingly.

Lhave attempted to contact the attorney for Plaintiff, Steven Moser, via telephone and e-

mail, in order to ascertain whether he consents to this request. However, I have not heard back
from him. .

Thank you for your consideration.

David S. Feather

DSF:kb
cc: Steven Moser, Esq. (via ECF)
